             Case 22-12757-amc                     Doc      Filed 04/25/24 Entered 04/25/24 09:58:06                  Desc Main
 Fill in this information to identify the case:             Document      Page 1 of 4
 Debtor 1    Cassandra Bonita Woods
             aka Cassandra Woods Black

 Debtor 2

 (Spouse, if filing)

 United States Bankruptcy Court for the EASTERN District of PENNSYLVANIA

 Case number 22-12757-mdc


Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy filing that you
assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.

Name of creditor: WILMINGTON SAVINGS FUND SOCIETY,                            Court claim no. (if known): 14-4
FSB, D/B/A CHRISTIANA TRUST, NOTINDIVIDUALLY BUT AS
TRUSTEE FOR PRETIUM MORTGAGE ACQUISITION TRUST

Last 4 digits of any number you use to
identify the debtor’s account: 7039

Does this notice supplement a prior notice of postpetition
fees, expenses, and charges?
■ No
□ Yes. Date of the last notice:

 Part 1:       Itemize Postpetition Fees, Expenses, and Charges
 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any escrow
 account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously approved an amount,
 indicate that approval in parentheses after the date the amount was incurred.

            Description                                                                             Date Incurred               Amount

 1          Late Charges                                                                                            (1)            $0.00

 2          Non-sufficient funds (NSF) fees                                                                         (2)            $0.00

 3          Attorneys fees                                                                                          (3)            $0.00

 4          Filing fee and court costs                                                                              (4)            $0.00

 5          Bankruptcy/Proof of claim fees                                                                          (5)            $0.00

 6          Appraisal/Broker's Price opinion fees                                                                   (6)            $0.00

 7          Property inspection fees                                                                                (7)            $0.00

 8          Tax Advances (non-escrow)                                                                               (8)            $0.00

 9          Insurance advances (non-escrow)                                                                         (9)            $0.00

 10         Property preservation expenses                                                                          (10)           $0.00

 11         Other. Specify: Amended Plan Review                                                       01/23/2024    (11)         $150.00

 12         Other. Specify:                                                                                         (12)           $0.00

 13         Other. Specify:                                                                                         (13)           $0.00

 14         Other. Specify:                                                                                         (14)           $0.00
 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.

 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                               Notice of Postpetition Mortgage Fees, Expenses, and Charges                           page 1
            Case 22-12757-amc                          Doc        Filed 04/25/24 Entered 04/25/24 09:58:06                      Desc Main
Debtor 1 Cassandra Bonita Woods                                   Document
                                                                         Case number (ifPage      2 of 4
                                                                                         known) 22-12757-mdc
aka Cassandra Woods Black
           Print Name          Middle Name      Last Name




 Part 2:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box.

      □ I am the creditor
      ■ I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.

                         /s/ Michelle L. McGowan                                                     Date      4/22/2024
                                                                                                             ____________________
                        Signature



                         Michelle L. McGowan
  Print                                                                                              Title   Authorized Agent
                        First Name                      Middle Name     Last Name


  Company               Robertson, Anschutz, Schneid, Crane & Partners, PLLC

                        13010 Morris Rd., Suite 450
  Address
                        Number               Street

                         Alpharetta, GA 30004
                        City                                                 State      ZIP Code

  Contact Phone         470-321-7112                                                                 Email    mimcgowan@raslg.com




Official Form 410S2                                   Notice of Postpetition Mortgage Fees, Expenses, and Charges                           page 2
          Case 22-12757-amc     Doc     Filed 04/25/24 Entered 04/25/24 09:58:06                  Desc Main
                                        Document
                                       CERTIFICATE    Page
                                                      OF   3 of 4
                                                         SERVICE

               I HEREBY CERTIFY that on        April 25, 2024           , I electronically filed the foregoing with the
Clerk of Court using the CM/ECF system, and a true and correct copy has been served via United States Mail to
the following:

CASSANDRA BONITA WOODS
1669 POWELL RD
BROOKHAVEN, PA 19015-1933

And via electronic mail to:

MICAEL I. ASSAD
CIBIK LAW, P.C.
1500 WALNUT ST,
STE 900
PHILADELPHIA, PA 19102

KENNETH E. WEST
OFFICE OF THE CHAPTER 13 STANDING TRUSTEE
1234 MARKET STREET - SUITE 1813
PHILADELPHIA, PA 19107

UNITED STATES TRUSTEE
OFFICE OF UNITED STATES TRUSTEE
ROBERT N.C. NIX FEDERAL BUILDING
900 MARKET STREET
SUITE 320
PHILADELPHIA, PA 19107


                                                   By: /s/ Emily Cheng




Official Form 410S2            Notice of Postpetition Mortgage Fees, Expenses, and Charges                      page 3
Case 22-12757-amc   Doc   Filed 04/25/24 Entered 04/25/24 09:58:06   Desc Main
                          Document      Page 4 of 4
